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                                                                                                         E-FILED
                                                                          Monday, 18 January, 2021 04:43:35 PM
                                                                                  Clerk, U.S. District Court, ILCD

                              UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF ILLINOIS

                                Case No. 3:20-cv-03213 SEM TSH

DEBORAH LAUFER, individually,
    Plaintiff,

v.

CHAMPAIGN HOTEL VENTURES, LLC,
d//ba Comfort Inn & Suites Lincoln
       Defendant.
___________________________________/

                                  NOTICE OF SETTLEMENT

       Plaintiff hereby gives notice to the Court that the Parties have reached an amicable

resolution in the above matter. The Parties will finalize and file papers necessary to dismiss this

action with prejudice, which they reasonably expect to do within twenty days from the date of this

Notice. Accordingly, the Plaintiff respectfully requests that the Court vacate all currently set dates

and deadlines, with the expectation that a Notice of Dismissal with Prejudice as to all claims and

all parties will be filed within twenty days.

       Dated this 18th day of January, 2021.

                                                Respectfully Submitted,

                                                Attorneys for Plaintiff

                                                Kathy L. Houston, Esq., Of Counsel
                                                THOMAS B. BACON, P.A.
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                                                By:       /s/ Kathy L. Houston                 .
                                                Kathy L. Houston, Esq.
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               CERTIFICATE OF ELECTRONIC FILING AND SERVICE

       I hereby certify that the foregoing document is being served this 18th day of January, 20212,

on all counsel of record via the Court’s CM/ECF system.


                                                  /s/ Kathy L. Houston                         .
                                             Kathy L. Houston, Esq.
